                                   Exhibit 6C
     Email from G. Shumaker to S. Hackney dated September 6, 2013




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From:                 Gregory Shumaker [gshumaker@JonesDay.com]
Sent:                 Friday, September 06, 2013 5:45 PM
To:                   Hackney, Stephen C.
Cc:                   abyowitz@kramerlevin.com; Alfredo.perez@weil.com; apclawyer@sbcglobal.net;
                           bforde@winston.com; bokeefe@lippittokeefe.com;
                           bweisenthal@schiffhardin.com; carole.neville@dentons.com;
                           caroline.english@arentfox.com; Carol.cohen@arentfox.com; Corinne Ball;
                           chardman@winston.com; claude.montgomery@dentons.com;
                           Dana.Kaufman@weil.com; David.Dubrow@arentfox.com; Daniel T Moss;
                           EJEssad@wwrplaw.com; fguadagnino@ClarkHillThorpReed.com;
                           gneal@sidley.com; Hertzberg, Robert S.; jbjork@sidley.com;
                           JGreen@ClarkHill.com; *jwagner@kramerlevin.com1;
                           kdenniston@schiffhardin.com; Kelly.DiBlasi@weil.com;
                           knewbury@schiffhardin.com; Gartel, Lally A.; llarose@winston.com;
                           marriott@ballardspahr.com; morris@silvermanmorris.com;
                           mott@schiffhardin.com; mtaunt@stroblpc.com; Bennett, Ryan Blaine;
                           rfrimmer@schiffhardin.com; RGordon@ClarkHill.com;
                           rplecha@lippittokeefe.com; skohn@winston.com;
                           summersm@ballardspahr.com; swahl@schiffhardin.com; Thomas F. Cullen;
                           tmayer@kramerlevin.com
Subject:              RE: In re City of Detroit, Michigan, Case No. 13-53846 (SWR)

Steve: You're correct in your inference regarding providing additional discovery. As for the term
sheet, I am checking on a couple of issues and will respond when I have more information.

Best regards, Greg

From:      "Hackney, Stephen C." <shackney@kirkland.com>
To:        Daniel T Moss <dtmoss@JonesDay.com>, "Gartel, Lally A."
           <lally.gartel@kirkland.com>, "JGreen@ClarkHill.com" <JGreen@ClarkHill.com>,
           "abyowitz@kramerlevin.com" <abyowitz@kramerlevin.com>,
           "Alfredo.perez@weil.com" <Alfredo.perez@weil.com>, "apclawyer@sbcglobal.net"
           <apclawyer@sbcglobal.net>, "bforde@winston.com" <bforde@winston.com>,
           "bokeefe@lippittokeefe.com" <bokeefe@lippittokeefe.com>,
           "bweisenthal@schiffhardin.com" <bweisenthal@schiffhardin.com>,
           "Carol.cohen@arentfox.com" <Carol.cohen@arentfox.com>,
           "carole.neville@dentons.com" <carole.neville@dentons.com>,
           "caroline.english@arentfox.com" <caroline.english@arentfox.com>,
           "chardman@winston.com" <chardman@winston.com>,
           "claude.montgomery@dentons.com" <claude.montgomery@dentons.com>,
           "Dana.Kaufman@weil.com" <Dana.Kaufman@weil.com>,
           "David.Dubrow@arentfox.com" <David.Dubrow@arentfox.com>,
           "EJEssad@wwrplaw.com" <EJEssad@wwrplaw.com>,
           "fguadagnino@ClarkHillThorpReed.com" <fguadagnino@ClarkHillThorpReed.com>,
           "gneal@sidley.com" <gneal@sidley.com>, "jbjork@sidley.com" <jbjork@sidley.com>,
           "*jwagner@kramerlevin.com1" <jwagner@kramerlevin.com>,
           "kdenniston@schiffhardin.com" <kdenniston@schiffhardin.com>,
           "Kelly.DiBlasi@weil.com" <Kelly.DiBlasi@weil.com>, "knewbury@schiffhardin.com"
           <knewbury@schiffhardin.com>, "llarose@winston.com" <llarose@winston.com>,



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         "marriott@ballardspahr.com" <marriott@ballardspahr.com>,
         "morris@silvermanmorris.com" <morris@silvermanmorris.com>,
         "mott@schiffhardin.com" <mott@schiffhardin.com>, "mtaunt@stroblpc.com"
         <mtaunt@stroblpc.com>, "rfrimmer@schiffhardin.com" <rfrimmer@schiffhardin.com>,
         "RGordon@ClarkHill.com" <RGordon@ClarkHill.com>, "rplecha@lippittokeefe.com"
         <rplecha@lippittokeefe.com>, "skohn@winston.com" <skohn@winston.com>,
         "summersm@ballardspahr.com" <summersm@ballardspahr.com>,
         "swahl@schiffhardin.com" <swahl@schiffhardin.com>, "tmayer@kramerlevin.com"
         <tmayer@kramerlevin.com>, "Bennett, Ryan Blaine" <rbennett@kirkland.com>
Cc:      "Thomas F. Cullen" <tfcullen@JonesDay.com>, Gregory Shumaker
         <gshumaker@JonesDay.com>, Corinne Ball <cball@JonesDay.com>, "Hertzberg,
         Robert S." <Hertzber@pepperlaw.com>
Date: 09/06/2013 10:49 AM
Subject: RE: In re City of Detroit, Michigan, Case No. 13-53846 (SWR)




Dan and Greg,

Thanks for your letter. Two quick follow ups:

1.      Am I correct to infer that the City is declining our suggestion that it provide the other materials
referenced in my original letter?

2.      Is it correct that this term sheet is unsigned and undated? I just want to make sure we aren’t
missing a signature page.

Best,

Steve

From: Daniel T Moss [mailto:dtmoss@JonesDay.com]
Sent: Thursday, September 05, 2013 5:31 PM
To: Gartel, Lally A.; JGreen@ClarkHill.com; abyowitz@kramerlevin.com;
Alfredo.perez@weil.com; apclawyer@sbcglobal.net; bforde@winston.com;
bokeefe@lippittokeefe.com; bweisenthal@schiffhardin.com; Carol.cohen@arentfox.com;
carole.neville@dentons.com; caroline.english@arentfox.com; chardman@winston.com;
claude.montgomery@dentons.com; Dana.Kaufman@weil.com; David.Dubrow@arentfox.com;
EJEssad@wwrplaw.com; fguadagnino@ClarkHillThorpReed.com; gneal@sidley.com;
jbjork@sidley.com; *jwagner@kramerlevin.com1; kdenniston@schiffhardin.com;
Kelly.DiBlasi@weil.com; knewbury@schiffhardin.com; llarose@winston.com;
marriott@ballardspahr.com; morris@silvermanmorris.com; mott@schiffhardin.com;
mtaunt@stroblpc.com; rfrimmer@schiffhardin.com; RGordon@ClarkHill.com;
rplecha@lippittokeefe.com; skohn@winston.com; summersm@ballardspahr.com;
swahl@schiffhardin.com; tmayer@kramerlevin.com; Hackney, Stephen C.; Bennett, Ryan Blaine
Cc: Thomas F. Cullen; Gregory Shumaker; Corinne Ball; Hertzberg, Robert S.
Subject: In re City of Detroit, Michigan, Case No. 13-53846 (SWR)

                                                     2
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Counsel:

Please see attached correspondence from Greg Shumaker.

Best,

Dan

Dan T. Moss



Associate
51 Louisiana Ave. NW, Washington, DC 20001-2113 • Direct: 202.879.3794 • Fax:
202.626.1700 • dtmoss@jonesday.com

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